UNITED STATES DISTRICT COBRF* 1"
DISTRICT OF MASSACHUSETTS

ANDRE BISASOR, 7}. JUN 12 PAE
Plaintiff,

Vv. WS. i ,

CRAIG S. DONAIS; Ghoti
RUSSELL F. HILLIARD;
DONAIS LAW OFFICES, PLLC;
UPTON & HATFIELD, LLP;
and MARY K. DONAIS,
Defendants.

Case No. 1:23-CV-11313

PRO SE MOTION TO PARTICIPATE IN ELECTRONIC FILING
NOW COMES the Plaintiff Andre Bisasor, appearing pro se (hereafter “Pro Se Litigant”), and respectfully

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request that the court permit said Pro Se Litigant to participate in electronic filing. In support of this
motion, Pro Se Litigant state the following:

1. Pro Se Litigant is presently a named party in the above case.

2. Pro Se Litigant is not presently incarcerated.

3. Pro Se Litigant represents that he has the appropriate computer system requirements to participate in
electronic filing.

4. Pro Se Litigant requires electronic access in order to participate fully in the case and in a timely manner.
5. Please grant the relief requested.

Respectfully submitted,
/s/ Andre Bisasor
Andre Bisasor
679 Washington Street, Suite # 8-206
Attleboro, MA 02703
T: 781-492-5675
Email: quickquantum@aol.com
June 12, 2023
CERTIFICATE OF SERVICE
I certify that a copy of the foregoing was served to the defendants in this case.

/s/ Andre Bisasor

Andre Bisasor

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